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UNITED STA'FES DIS'I`RICT CO'UR’I`
SGU`I`HERN DISTRICT 03 NEW YORK
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A.RBITRATIGN 05 P}ISFUTES

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LAUNI}RY, DRY CLSANING WORKERS AND
ALLIED INDUSTRI§£S HEAL'I`H. FUN'D, UNITE HERE! and

LAUNDRY, £)RY camqu w€)RKERs AND No. 08 CIV &932
A_LLIF,I:) mDUSTR:BS RETIREMENT ma UN:TE HERE:,
Pet§tionezs,
and

OLD MASTERS CLEANERS, INC.,
Respen'dem.

 

Pursuant to Ruia» ?.§ of the G::neral Rules of the Southem Dism'ct of New Yc)rk and to enable judges
and magisirates of the court to evaluate possj-bie disquaiif“:cation or recusa}, the undersigned attorney
of record for the LaunQ-Q, §§ Cleaning Workers- and Allied Indnstries Heafth Fund. UNITE HBREZ
ade Laundry. f>rv Cfeaninn Workers and AH-ied Industries Retircment Fund, UNIT§E HERHE certifies
that other man UNH`E E="und Administrators, Inc., the Laundry, Dry Cfeaning W<)rkers and A§lie<i
Indust;ries Hc:a}§h Fund, UNI'§`E HERE! and Laundry, Dry Cicam'ng Workers and AEIied Industries
Retirement Fumi, UNITE HEREZ has ne corporate parents, subsidi.'m‘es or affiliates.

 

 

 

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Date =UZE€? §app~!§'$“$ 81 f '
A`tterncy for Petitioncrs €"r ij
?3{} Broadway, 9&‘ F§oc»r

New York, New York 10093-95§ f
{212`) 539~55’?6

 

 

 

 

 

